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10
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11    CHANTEL CONTRERAS
12
13                          UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
14
15
      CHANTEL CONTRERAS, an                   Case No.
16    individual,
17            Plaintiff,
18                                            COMPLAINT FOR VIOLATIONS
         v.
                                              OF: AMERICANS WITH
19
      GARDENA GROUP HOLDINGS, LLC, DISABILITIES ACT OF 1990, 42
20    a California limited liability company; U.S.C. § 12181, et seq.; UNRUH
      and DOES 1-10,                          CIVIL RIGHTS ACT, CALIFORNIA
21
                                              CIVIL CODE § 51, et seq.
22             Defendants.
23                                            DEMAND FOR JURY TRIAL
24
25
26
27
                 Most Americans will become disabled at some point in life.
28

                                        COMPLAINT
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  1         Plaintiff Chantel Contreras (hereinafter referred to as “Plaintiff”) complains
  2
      of Gardena Group Holdings, LLC, a California limited liability company; and Does
  3
  4   1-10 (each, individually a “Defendant,” and collectively “Defendants”), and alleges

  5   as follows:
  6
                                         I.    PARTIES
  7
  8         1.      Plaintiff Chantel Contreras is a California resident with physical
  9   disabilities. Plaintiff has been issued a blue permanent disability Disabled Person
10
      Parking Placard by the State of California. Plaintiff suffers from progressive
11
12    cartilage degeneration, bone overgrowth and pinched nerves. Her bone cartilage in
13    the lower body and knees is eroding with each step. She has difficulty walking
14
      and standing. Plaintiff is mobility impaired and depends on a cane as needed.
15
16    Plaintiff also suffers from bone growths and pinched nerves which cause stabbing
17    pains in her body including her arm and neck. Plaintiff is a disabled person under
18
      the California Unruh Civil Rights Act (UCRA) (see Cal. Civ. Code §§ 51, et seq.,
19
20    52, et seq.), the Americans with Disabilities Act (ADA) (see 42 U.S.C. § 12102,
21
      et seq.), and other statutory laws which protect the rights of “disabled persons.”
22
            2.      Defendant Gardena Group Holdings, LLC, a California limited
23
24    liability company owns/owned the property (the “Property”), located at 10208
25
      Lakewood Blvd., Downey, CA 90241.
26
            3.      There is a business establishment on the Property named “Chevron,”
27
28
                                           2
                                       COMPLAINT
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  1   (hereinafter, “the business”).
  2
            4.     The business is a public accommodation as defined by 42 U.S.C. §
  3
  4   12181(7).

  5         5.     DOES 1 through 10 were at all relevant times lessors, lessees, property
  6
      owners, subsidiaries, parent companies, affiliates, employers, employees, agents,
  7
  8   corporate officers, managers, principles, and/or representatives of Defendants.
  9   Plaintiff is unaware of the true names and capacities of Defendants sued herein as
10
      DOES 1 through 10, inclusive, and, therefore, sues those Defendants by fictitious
11
12    names. Plaintiff requests that the Court grant leave to amend this complaint to
13    allege the true names and capacities when determined by whatever source.
14
            6.     Defendants, at all relevant times, were relevant to this action; were the
15
16    owners, franchisees, franchisors, lessees, lessors, general partners, limited partners,
17    agents, affiliates, employees, employers, representative partners, subsidiaries,
18
      partner companies, and/or joint venturers of the remaining Defendants; and were
19
20    acting within the course and scope of that relationship. Upon information and
21
      belief, Plaintiff alleges that each of the Defendants gave consent to, ratified, and/or
22
      authorized the acts alleged of each of the remaining Defendants.
23
24          7.     Plaintiff visited the public accommodations owned, leased, and/or
25
      operated by Defendants with the intent to purchase and/or use the goods, services,
26
      facilities, privileges, advantages, and/or accommodations offered by Defendants.
27
28
                                           3
                                       COMPLAINT
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  1                            II.     JURISDICTION & VENUE
  2          8.     This Court has subject matter jurisdiction over this action pursuant to
  3
      28 U.S.C. § 1331 and 28 U.S.C. § 1343(a)(3) & (a)(4) for violations of the ADA.
  4
  5          9.     Pursuant to supplemental jurisdiction, an attendant and related cause of
  6   action, arising from the same nucleus of operative facts, and arising out of the same
  7
      transactions, is also brought under the UCRA, which expressly incorporates the
  8
  9   ADA.
10
             10.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because
11
      the real property which is the subject of this action is located in this district, and
12
13    Plaintiff’s cause of action arose in this district.
14
                                            III.   FACTS
15
             11.    The Property is a facility which is open to the public and includes
16
17    business establishments.
18
             12.    The Property has been newly constructed and/or underwent
19
      remodeling, repairs, or alterations after January 26, 1992. Defendants have failed
20
21    to comply with California access standards which applied at the time of each new
22
      construction and/or alteration, and/or failed to maintain accessible features in
23
      operable working condition.
24
25           13.    Plaintiff visited the Property during the relevant statutory period on
26
      four (4) separate occasions, in May 2021, June, July 2021 and August 2021 to
27
28
      patronize the business on the Property.
                                             4
                                         COMPLAINT
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  1         14.    Defendants did not offer persons with disabilities with equivalent
  2
      facilities, privileges, and advantages offered by Defendants to other patrons.
  3
  4         15.    Plaintiff encountered barriers, both physical and intangible, that

  5   interfered with, and denied, Plaintiff the ability to use and enjoy the goods, services,
  6
      privileges, and/or accommodations offered at the Property.
  7
  8         16.    Parking is one of the facilities, privileges, and advantages offered by
  9   Defendants to patrons of the Property.
10
            17.    However, there was no accessible parking for disabled patrons at the
11
12    Property. The parking space(s) designated for disabled persons did not comply
13    with the ADA.
14
            18.    The parking area did not comply with the applicable California
15
16    Building Code (CBC).
17          19.    When Plaintiff visited the Property, she experienced access barriers
18
      related to parking, signage, paths of travel, and restrooms.
19
20          20.    Plaintiff encountered the following barriers, conditions, and/or
21
      violations at the Property:
22
            Chevron and the Property it sits on is not accessible to disabled patrons.
23
24          The designated disabled parking space and adjacent loading/unloading
25
            access aisle have slopes and uneven asphalt which can cause Plaintiff to
26
            fall/trip. The paths of travel between the service facilities (i.e., gas
27
28
                                           5
                                       COMPLAINT
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  1        pumps, air/water machines, and service station) have many slopes and
  2
           pavement distresses. The restroom on the Property has many
  3
  4        inaccessible elements which pose risk of injury.

  5
  6
           VIOLATION of 1991 ADAS § 4.3.2(1); 2010 ADAS § 206.2.1; 2010 CBC
  7
  8        § 1114B.1.2; 2019 CBC § 11B-206.2.1. (Exterior route of travel.) An
  9        accessible route of travel is not provided to all entrances and portions of the
10
           building, to all entrances of the Property, and/or between the building and a
11
12         public way. Plaintiff needs a dedicated path of travel, free of obstructions
13         and vehicles, where (on which) Plaintiff can travel. It is dangerous for
14
           Plaintiff to navigate without a safe, protected, accessible route of travel; thus,
15
16         the violation interferes with Plaintiff’s ability to fully access the premises.
17
18
           VIOLATION of 1991 ADAS §§ 4.1.2(1), 4.3.2(1); 2010 ADAS §§ 206.1,
19
20         206.2, 206.2.1, 206.2.2, 206.2.4; 2010 CBC § 1114B.1.2; 2010 CBC §
21         1127B.1; 2019 CBC §§ 11B-206.2.1, 11B-206.2.2, 11B-206.2.4.
22
           (Accessible route of travel.) At least one accessible route shall be provided
23
24         within the site from accessible parking spaces and accessible passenger
25
           loading zones; public streets and sidewalks; and public transportation stops to
26
           the accessible building or facility entrance they serve. At least one accessible
27
28
                                          6
                                      COMPLAINT
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  1        route shall connect accessible buildings, accessible facilities, accessible
  2
           elements, and accessible spaces that are on the same site. The requisite
  3
  4        accessible route of travel is not provided. There is no accessible route of

  5        travel from the designated disabled parking spaces, adjacent access aisle to
  6
           the business/building entrance. Plaintiff needs an accessible route of travel,
  7
  8        with level and smooth ground, free of obstructions and vehicles, whereupon
  9        Plaintiff can ambulate. It is dangerous for Plaintiff to travel these areas
10
           without a safe, protected, accessible route of travel; thus, the violation
11
12         interferes with Plaintiff’s ability to fully access the premises. The lack of a
13         safe and accessible route, with a smooth and level surface, denied Plaintiff
14
           full and equal use or access during each of Plaintiff’s visits by making it
15
16         difficult/ harder for Plaintiff to traverse.
17
18
           VIOLATION of 1991 ADAS § 4.1.2(7); 2010 ADAS § 216.6; 2010 CBC §
19
20         1127B.3; 2019 CBC § 11B-216.6. (Directional signage.) There is no
21         directional signage showing an accessible path of travel to an accessible
22
           entrance. The sign is illegible because it is covered by vandalism (i.e.,
23
24         adhesive stickers and/or graffiti). Plaintiff faces an increased risk of injury if
25
           Plaintiff is required to backtrack because Plaintiff cannot find an accessible
26
           entrance into the business/building. Thus, Plaintiff requires clear signage
27
28
                                           7
                                       COMPLAINT
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  1        directing him to any accessible entrance(s). Accessible entrances should be
  2
           marked with an International Symbol of Accessibility.
  3
  4        VIOLATION of 2010 CBC § 1129B.4; 2019 CBC § § 11B-502.8, 11B-

  5        502.8.2. (Off-street unauthorized parking sign – not posted.) The tow away
  6
           sign(s) (white sign stating that “UNAUTHORIZED VEHICLES PARKED
  7
  8        IN DESIGNATED ACCESSIBLE SPACES … WILL BE TOWED
  9        AWAY”) must be posted in a conspicuous place at each entrance to an off-
10
           street parking lot (facility), or immediately adjacent to and visible from each
11
12         designated parking stall (space). The requisite sign(s) are not posted. The
13         sign is illegible because it is covered by vandalism (i.e., adhesive stickers
14
           and/or graffiti). Plaintiff must use the designated disabled parking spaces
15
16         and requires the proper protections of an access aisle and an accessible route
17         of travel to safely access the Property. Clear signage that explicitly warns of
18
           the consequences for improperly parking in the designated disabled parking
19
20         spaces will deter others without disabilities from parking there.
21
22
           VIOLATION of 2010 CBC 1129B.4; (Off-Street Unauthorized Parking
23
24         Sign – Size of Sign). The Unauthorized Parking Towed Vehicle sign must be
25
           a minimum size of 17” by 22”.
26
27
28
                                         8
                                     COMPLAINT
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  1        VIOLATION of 1991 ADAS § 4.6.4; 2010 ADAS § 502.6; 2010 CBC §
  2
           1129B.4; 2019 CBC § 11B-502.6.2. (Sign missing – “Minimum Fine
  3
  4        $250.”) There was no sign warning of the minimum fine of $250 for

  5        unauthorized parking posted in front of the right designated disabled parking
  6
           space. Plaintiff needs to park in the space that is closest to the business
  7
  8        entrance and designated for disabled persons. Clear signage that distinctly
  9        warns of the penalties for unauthorized parking in the designated disabled
10
           parking space will deter others without disabilities from parking in the space
11
12         and thereby blocking Plaintiff from being able to use it.
13
14
           VIOLATION of 1991 ADAS § 4.3.7; 2010 ADAS § 403.3; 2019 CBC §
15
16         11B-403.3. (Route/path of travel – cross slopes.) The cross slopes of the
17         route/path of travel are greater than two percent (2%). It is difficult for
18
           Plaintiff to travel on surfaces with excess slopes. Plaintiff is at risk of falling
19
20         when there are surfaces with excess slopes. The presence of excess slopes
21         denied Plaintiff full and equal use or access during Plaintiff’s visits by
22
           making it difficult and/or uncomfortable for Plaintiff to traverse the
23
24         property/route. The barrier also deterred/deters Plaintiff from visiting the
25
           Property because it would make it difficult and/or uncomfortable for
26
           Plaintiff to walk/traverse the property/route.
27
28
                                          9
                                      COMPLAINT
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   1
   2
   3
   4        VIOLATION of 1991 ADAS §§ 4.5.2, 4.6.8; 2010 ADAS §§ 302.1, 303.1,

   5        303.2, 303.3, 303.4; 2010 CBC §§ 1120B.2, 1133 B.7.1, 1133B.7.4; 2019
   6
            CBC §§ 11B-303.1, 11B-303.2, 11B-303.3, 11B-303.4, 11B-303.5. (Abrupt
   7
   8        changes in level; uneven ground surface.) Floor and ground surfaces shall be
   9        stable, firm, and slip resistant. Changes in level of 1/4 inch high maximum
  10
            shall be permitted to be vertical and without edge treatment. Changes in
  11
  12        level between ¼-inch high minimum and ½-inch high maximum shall be
  13        beveled with a slope not steeper than 1:2. Changes in level greater than 1/2
  14
            inch high shall be ramped. The route of travel, including from the designated
  15
  16        disabled parking space to the entrance of the building/business, have an
  17        uneven ground surface with changes in level exceeding one-half inch (1/2")
  18
            (and no ramps are provided). The route of travel has damaged ground which
  19
  20        is not flush or flat. The ground has pavement distresses. The types of
  21        pavement distresses which exist include but are not limited to: alligator
  22
            (fatigue) cracking; joint reflection cracking; potholes; asphalt bleeding;
  23
  24        patching near utilities; block cracking; raveling; stripping; corrugation and
  25
            shoving; and depressions. These pavement distresses are made worse and
  26
            exacerbated by design elements which do not follow the ADAAG. These
  27
  28
                                         10
                                      COMPLAINT
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   1        areas should be fixed immediately because they pose a tripping and/or falling
   2
            hazard. Plaintiff, a cannot safely and fully enjoy the premises when such
   3
   4        conditions are present. These excess changes in level and uneven ground

   5        surfaces pose risks to Plaintiff, including that Plaintiff’s foot, may catch on
   6
            the uneven ground causing Plaintiff to fall. These abrupt changes in level
   7
   8        pose an increased risk of danger to Plaintiff, as Plaintiff is more likely to
   9        trip/fall than someone without disabilities. The excess changes in level (i.e.,
  10
            uneven ground) denied Plaintiff full and equal use or access during each of
  11
  12        Plaintiff’s visits by making it difficult/harder and more dangerous for
  13        Plaintiff to traverse the property/route. The excess changes in level (i.e.,
  14
            uneven ground) also deterred/deters Plaintiff from visiting the Property
  15
  16        because it would be difficult/harder and more dangerous for Plaintiff to
  17        traverse the property/route.
  18
  19
  20        VIOLATION of 1991 ADAS § 4.29.5; 2010 CBC § 1133B.8.5; 2019 CBC
  21        § 11B-247.1.2.5. (Hazardous Vehicular Area.) The path of travel crosses a
  22
            vehicular way, but the walking surface is not separated by curbs, railings, or
  23
  24        a continuous detectable warning. There is no safe way for Plaintiff to travel
  25
            from the designated disabled parking space to the business/building entrance.
  26
            Plaintiff is forced to travel a dangerous route, behind parked cars and in the
  27
  28
                                          11
                                       COMPLAINT
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   1        vehicle drive to the business entrance. Plaintiff faces an increased risk of
   2
            injury if Plaintiff has to travel in the path of vehicles because it is more
   3
   4        difficult for drivers to see Plaintiff, and Plaintiff cannot quickly move out of

   5        the way of an oncoming vehicle. Thus, Plaintiff requires a safe path away
   6
            from other vehicles. The safe, accessible path must be clearly marked so that
   7
   8        Plaintiff can find it.
   9
  10
            VIOLATION of 1991 ADAS § 4.6.2; 2010 ADAS § 208.3.1; 2010 CBC §
  11
  12        1129B.1. (Minimize travel distance.) The parking space reserved for disabled
  13        persons is not located to minimize the travel distance to the entrance. The
  14
            parking spaces closest to the entrance of the business are not designated
  15
  16        accessible spaces. The space reserved for disabled persons are located
  17        farther.
  18
  19
  20        VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.2.; 2010 CBC §§
  21        1129B.3, 1129B.4; 2019 CBC §§ 11B-502.2, 11B-502.6.4.1, 502.6.4.2.
  22
            (Faded paint – accessible parking space lines.) The paint used for the
  23
  24        designated disabled parking space is so worn and aged that it cannot (can
  25
            hardly) be seen. This makes it unclear where the actual designated disabled
  26
            parking space is, and it makes it difficult for Plaintiff to use the space.
  27
  28
                                          12
                                       COMPLAINT
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   1        Plaintiff needs to be able to use the designated disabled parking space, which
   2
            should be located closest to the entrance and linked to an accessible route of
   3
   4        travel, because it is more difficult for Plaintiff as opposed to non-disabled

   5        persons, to maneuver about the Property. When the paint for the designated
   6
            disabled parking space is worn and aged, there is a greater risk that non-
   7
   8        disabled patrons will park in the designated disabled parking space,
   9        preventing Plaintiff from using it and accessing the business.
  10
  11
  12        VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.4; 2016 CBC §§
  13        11B-502.4, 11B-502.3.3; 2010 CBC § 1129B.3.4. (Slope of designated
  14
            disabled parking spaces.) The designated disabled parking spaces have
  15
  16        slopes and cross slopes that are greater than two percent (2%). Given
  17        Plaintiff’s mobility issues, Plaintiff needs to be able to traverse on a level
  18
            surface. Sloped ground surfaces pose risks to Plaintiff, including that
  19
  20        Plaintiff’s feet may catch on the sloped ground, causing Plaintiff to fall.
  21
  22
            VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.4; 2010 CBC §
  23
  24        1129B.3.3; 2019 CBC § 11B-502.4. (Slopes of adjacent access aisle.) The
  25
            loading/unloading access aisle adjacent to the designated disabled parking
  26
            spaces has surface slopes greater than two percent (2%). Given Plaintiff’s
  27
  28
                                          13
                                       COMPLAINT
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   1        mobility issues, Plaintiff needs to be able to traverse on a level surface.
   2
            Sloped ground surfaces pose risks to Plaintiff, including that Plaintiff’s feet
   3
   4        may catch on the sloped ground, causing Plaintiff to fall.

   5
   6
            VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.3; 2010 CBC §
   7
   8        1129B.3.1; 2019 CBC § 11B-502.3. (No loading/unloading access aisle.)
   9        The loading/unloading access aisle which is required to be adjacent to the
  10
            designated disabled parking space is/was essentially missing. There were a
  11
  12        few barely visible lines, which may have been the remnants of a once
  13        painted access aisle, but which did not constitute or depict a compliant
  14
            access aisle. This made it difficult for Plaintiff to use the space (i.e., the
  15
  16        barely visible former access aisle) to safely disembark from the vehicle. The
  17        barrier denied (would deny) Plaintiff full and equal use or access, by
  18
            depriving Plaintiff of an aisle which is required to be properly striped/
  19
  20        marked for Plaintiff’s use (i.e., for the use of disabled persons as opposed to
  21        nondisabled persons). Plaintiff requires sufficient space to safely disembark
  22
            with her mobility device(s) away from other vehicles. Also, when an access
  23
  24        aisle is not clearly painted, there is a greater chance that non-disabled
  25
            individuals will park in the access aisle, blocking Plaintiff’s use thereof.
  26
  27
  28
                                          14
                                       COMPLAINT
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   1        VIOLATION of 2010 CBC § 1129B.4; 2019 CBC § 11B-502.6.4.
   2
            (Parking space ground surface signage.) The paint used for the designated
   3
   4        disabled parking space is faded and cannot (can hardly) be seen; thus, there

   5        is no compliant surface signage at the designated disabled parking space.
   6
            The International Symbol of Accessibility is so faded and worn that it can
   7
   8        hardly be seen. This makes it difficult for Plaintiff and other patrons to
   9        identify or locate the designated disabled parking space. When the paint for
  10
            the International Symbol of Accessibility is so faded and worn, there is a
  11
  12        greater risk that non-disabled patrons will park in the designated disabled
  13        parking space, preventing Plaintiff from using it and accessing the business.
  14
            Plaintiff needs to be able to park in the space that is nearest to the entrance
  15
  16        and designated for disabled patrons. Plaintiff needs to be able to use an
  17        accessible parking space, with an access aisle, to safely access the Property.
  18
            Clear surface signage that explicitly marks the designated disabled parking
  19
  20        space will deter others without disabilities from parking in the space, so that
  21        the space can be available for Plaintiff’s use.
  22
  23
  24        VIOLATION of 2010 ADAS § 502.3.3; 2010 CBC § 1129B.3.1; 2019
  25
            CBC § 11B-502.3.3. (“NO PARKING” – ground surface signage.) The
  26
            words “NO PARKING,” which are required to be painted in the loading/
  27
  28
                                          15
                                       COMPLAINT
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   1        unloading access aisle, were/are missing (and/or were completely faded such
   2
            that the words were no longer visible). As a result, non-disabled patrons
   3
   4        parked in the loading/unloading access aisle, blocking Plaintiff from being

   5        able to use the access aisle. Plaintiff needs extra space to be able to safely
   6
            exit the vehicle. Plaintiff has difficulty disembarking the vehicle, which
   7
   8        poses a greater risk of injury to Plaintiff and can cause humiliation and/or
   9        frustration. Plaintiff cannot access the Property safely if Plaintiff cannot use
  10
            an accessible parking space and adjacent access aisle.
  11
  12
  13        VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.3; 2010 CBC §
  14
            1129B.3; 2019 CBC § 11B-502.3. (Access aisle adjoining accessible route.)
  15
  16        The adjacent loading/unloading access aisles must adjoin an accessible route
  17        to an accessible entrance. It does/did not. Plaintiff cannot access the
  18
            Property safely unless there is an access aisle onto which Plaintiff can
  19
  20        disembark from the vehicle. The access aisle must lead to an accessible route,
  21        so that Plaintiff can safely travel to and enter the business. There is no safe
  22
            route of travel from the designated disabled parking space to the business
  23
  24        entrance. The barrier deterred/deters Plaintiff from visiting the property
  25
            because the lack of a safe and accessible route would make it difficult,
  26
            uncomfortable, and/or unsafe for Plaintiff to walk around the property,
  27
  28
                                         16
                                      COMPLAINT
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   1        including to travel from the designated disabled parking space to the building
   2
            entrance.
   3
   4        VIOLATION of 1991 ADAS §§ 4.3.8, 4.5.2; 2010 ADAS §§ 302.1, 303.2,

   5        303.3, 303.4, 403.2; 2010 CBC §§ 1133B.7.1, 1133B.7.4; 2019 CBC §§
   6
            11B-302.1, 11B-303.2, 11B-303.3, 11B-303.4, 11B-403.2. (Changes in level
   7
   8        – designated disabled parking space.) There are excess changes in level (of
   9        more than one-half inch) within the parking spaces reserved for disabled
  10
            patrons. The asphalt is uneven, and has depressions, dips, and divots. The
  11
  12        ground has sunken and cracked parts. This makes travelling in this area
  13        difficult. These excess changes in level and uneven ground surfaces pose
  14
            risks to Plaintiff, including that Plaintiff may fall.
  15
  16
  17        VIOLATION of 1991 ADAS §§ 4.3.7, 4.8.1; 4.8.4(2), 4.8.4(3); 2010 ADAS
  18
            § 403.3; 2010 CBC §§ 1133B.5.4.2, 1133B.5.4.6; 2019 CBC § 11B-403.3.
  19
  20        (Excess slopes; no compliant ramp.) The route(s) of travel has/have slopes
  21        greater than 1:20 (5%), but there is no compliant ramp (with appropriate
  22
            level ramp landings at the top and bottom of each ramp). It is difficult for
  23
  24        Plaintiff to walk on sloped surfaces that do not provide the safety features of
  25
            a compliant ramp. These excess changes in level pose risks to Plaintiff,
  26
            including that Plaintiff may fall. The lack of a complaint ramp, with its
  27
  28
                                          17
                                       COMPLAINT
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   1        attendant safety/accessibility features, denied Plaintiff full and equal use or
   2
            access during his visits by making it difficult/harder for Plaintiff to traverse
   3
   4        the property/route.

   5
   6
            VIOLATION of 2010 CBC § 1133B.5.2; 2019 CBC § 11B-405.5.
   7
   8        (Minimum width of ramps.) The route of travel has slopes greater than 1:20
   9        (5%), but there is no compliant ramp. There is no compliant ramp with a
  10
            minimum width of forty-eight inches (48"). Plaintiff requires adequate space
  11
  12        to navigate on sloped surfaces and/or ramps and Plaintiff cannot do so
  13        without a ramp of sufficient width. The lack of a complaint ramp, of the
  14
            requisite width, denied Plaintiff full and equal use or access during Plaintiff’s
  15
  16        visits by making it difficult/ harder for Plaintiff to traverse the property/route.
  17        The lack of a complaint ramp, of the requisite width, also deterred/deters
  18
            Plaintiff from visiting the Property because it would be difficult/harder for
  19
  20        Plaintiff to traverse the property/route.
  21
  22
            VIOLATION of 1991 ADAS § 4.8.2; 2010 CBC § 1133B.5.3. (Least
  23
  24        possible slope of ramp.) There is no compliant ramp, with the least possible
  25
            slope, leading into the business. The curb ramp exceeds the maximum
  26
            running slope allowable. Plaintiff has difficulty traveling on slopes that are
  27
  28
                                          18
                                       COMPLAINT
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   1        not compliant ramps.
   2
   3
   4        VIOLATION of 1991 ADAS § 4.5.3; 2010 ADAS § 302.2; 2010 CBC §

   5        1124B.3; 2019 CBC § 11B-302.2. (Carpet.) Carpets and mats must be
   6
            securely attached to a stable surface. The floor mat at the front entrance door
   7
   8        is not securely attached, which can cause rolling and buckling, making
   9        maneuvering more difficult. Plaintiff’s feet can easily catch on unsecured
  10
            mats and/or carpets, causing Plaintiff to trip.
  11
  12
  13        VIOLATION of 1991 ADAS § 4.13.8; 2010 ADAS § 404.2.5; 2010 CBC §
  14
            1133B.2.4. (Front door entrance threshold and weather strip changes in
  15
  16        level.) The front door entrance threshold and weather strip at the business
  17        has changes in level greater than one-half inch (1/2") but no ramp is
  18
            provided. The presence of an excess change in level at the front door
  19
  20        entrance denied Plaintiff full and equal use or access by making it difficult
  21        and/or uncomfortable for Plaintiff to walk/pass through the entrance. The
  22
            barrier also deterred/deters Plaintiff from visiting the Property because it
  23
  24        would make it difficult and/or uncomfortable for Plaintiff to walk/pass
  25
            through the entrance.
  26
  27
  28
                                          19
                                       COMPLAINT
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   1        VIOLATION of 2010 CBC § 1117B.5.7; 1991 ADAS § 4.30.6; 2010
   2
            ADAS § 703.4. (Sanitary facilities – wall signage.) There is no signage on
   3
   4        the wall approaching the restrooms. Plaintiff has difficulty locating the

   5        accessible restroom when the required signage is not posted.
   6
   7
   8        VIOLATION of 2010 CBC § 1115B.6. (Sanitary facilities – door signage.)
   9        The sanitary facilities are missing door signage indicating an accessible
  10
            facility.
  11
  12
  13        VIOLATION of 1991 ADAS § 4.13.11; 2010 ADAS § 404.2.9; 2010 CBC
  14
            §1133B.2.5; 2019 CBC § 11B-404.2.9. (Effort to operate restroom door.)
  15
  16        The restroom’s door opening force exceeds the maximum allowable opening
  17        force of five pounds (5 lbs.). Plaintiff requires an accessible restroom that
  18
            does not require her to use excessive force to open.
  19
  20
  21        VIOLATION of 1991 ADAS § 4.16.6; 2010 ADAS § 604.7; 2010 CBC §
  22
            1115B.8.4. (Toilet paper dispenser.) The restroom’s toilet tissue dispenser is
  23
  24        mounted more than twelve inches (12”) from the front edge of the toilet seat,
  25
            making (which would make) it difficult for Plaintiff to reach the tissue
  26
            dispenser and use the toilet.
  27
  28
                                         20
                                      COMPLAINT
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   1
   2
   3
   4          VIOLATION of 1991 ADAS § 4.13.10; 2010 ADAS § 404.2.8.1; 2010

   5          CBC § 1133B.2.5.1; 2019 CBC § 11B-404.2.8.1. (Restroom door closing
   6
              speed.) The restroom entrance door is equipped with a door closer and
   7
   8          returns to a closed position too quickly. Plaintiff cannot move out of the
   9          doorway as quickly as others without disabilities. Thus, Plaintiff requires a
  10
              safe entrance that allows Plaintiff extra time to pass through without the risk
  11
  12          of being injured by the closing door.
  13
  14
              21.    Plaintiff personally encountered the foregoing barriers, conditions,
  15
  16   and/or violations.
  17          22.    These barriers, conditions, and/or violations denied Plaintiff full and
  18
       equal access, and caused her difficulty, humiliation, and/or frustration.
  19
  20          23.    The barriers, conditions, and/or violations existed during each of
  21   Plaintiff’s visits in 2021.
  22
              24.    Defendants knew that the foregoing architectural barriers prevented
  23
  24   access. Plaintiff will prove that Defendants had actual knowledge that the
  25
       architectural barriers prevented access, and that the noncompliance with the ADA
  26
       Standards for Accessible Design (ADAS), ADA Accessibility Guidelines for
  27
  28
                                           21
                                        COMPLAINT
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   1   Buildings and Facilities (ADAAG), and/or the California Building Code (CBC)
   2
       was intentional.
   3
   4          25.    Plaintiff intends and plans to visit the Property again soon. Currently,

   5   Plaintiff is reasonably deterred from returning to Defendants’ public
   6
       accommodation facilities because of the knowledge of barriers to equal access,
   7
   8   relating to Plaintiff’s disabilities, that continue to exist at the Property.
   9          26.    Defendants have failed to maintain in working and useable condition
  10
       those features necessary to provide ready access to persons with disabilities.
  11
  12          27.    Defendants have the financial resources (i.e., financial ability) to
  13   remove these barriers without much expense or difficulty in order to make the
  14
       Property more accessible to their mobility impaired customers (i.e., disabled
  15
  16   persons). The removal of these barriers is readily achievable. The United States
  17   Department of Justice has determined that removal of these types of barriers is
  18
       readily achievable.
  19
  20          28.    Defendants refuse to remove these barriers.
  21
              29.    On information and belief, Plaintiff alleges that Defendants’ failure to
  22
       remove these barriers was/is intentional, because the barriers are logical and
  23
  24   obvious. During all relevant times, Defendants had authority, control, and
  25
       dominion over these conditions. Thus, the absence of accessible facilities was/is
  26
       not a mishap; it was/is the result of intentional actions or inaction.
  27
  28
                                             22
                                          COMPLAINT
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   1         30.    These barriers to access are described herein without prejudice to
   2
       Plaintiff citing additional barriers to access after further inspection by Plaintiff’s
   3
   4   agents and/or experts. See Doran v 7-ELEVEN, Inc., 524 F.3d 1034 (9th Cir. 2008)

   5   (holding that once a plaintiff encounters one barrier at a site, a plaintiff can sue to
   6
       have all barriers that relate to his or her disability removed, regardless of whether
   7
   8   he or she personally encountered them).
   9               IV. FIRST CAUSE OF ACTION: VIOLATION OF THE
  10
                     AMERICANS WITH DISABILITIES ACT OF 1990
  11
  12                                 (42 U.S.C. § 12101, et seq.)
  13                                  (Against All Defendants)
  14
             31.    Plaintiff alleges and incorporates by reference each and every
  15
  16   allegation contained in all prior paragraphs of this complaint.
  17         32.    Title III of the ADA prohibits discrimination against any person on the
  18
       basis of disability in the full and equal enjoyment of the goods, services, facilities,
  19
  20   privileges, advantages, or accommodations of any place of public accommodation
  21
       by any person who owns, leases, or operates a place of public accommodation. 42
  22
       U.S.C. § 12182(a).
  23
  24         33.    Defendants discriminated against Plaintiff by denying her “full and
  25
       equal enjoyment” and use of the goods, services, facilities, privileges, and/or
  26
       accommodations they offered during each visit, and each incident of a deterred
  27
  28
                                            23
                                         COMPLAINT
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   1   visit.
   2
                 34.   The acts and omissions of Defendants herein were/are in violation of
   3
   4   Plaintiff’s rights under the ADA and the regulations codified at 28 C.F.R. Part 36,

   5   et seq.
   6
                 35.   Pursuant to the ADA, discrimination is a “failure to make reasonable
   7
   8   modifications in policies, practices or procedures, when such modifications are
   9   necessary to afford goods, services, facilities, privileges, advantages or
  10
       accommodations to individuals with disabilities, unless the entity can demonstrate
  11
  12   that making such modifications would fundamentally alter the nature of such goods,
  13   services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §
  14
       12182(b)(2)(A)(ii).
  15
  16             36.   The ADA requires removal of architectural barriers in existing
  17   facilities where such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv)
  18
       (“discrimination includes … a failure to remove architectural barriers, and
  19
  20   communication barriers that are structural in nature, in existing facilities, … where
  21
       such removal is readily achievable”). The term “readily achievable” is defined as
  22
       “easily accomplishable and able to be carried out without much difficulty or
  23
  24   expense.” 42 U.S.C. § 12181(9). Barriers are defined by reference to the ADA
  25
       Standards for Accessible Design (ADAS), found at 28 C.F.R. Part 36, including the
  26
       ADA Accessibility Guidelines for Buildings and Facilities (ADAAG), at Part 36,
  27
  28
                                            24
                                         COMPLAINT
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   1   Appendix A.
   2
             37.    If removal of any barrier is not readily achievable, a failure to make
   3
   4   goods, services, facilities, or accommodations available through alternative

   5   methods is also prohibited if the alternative methods are readily achievable. 42
   6
       U.S.C. § 12182(b)(2)(A)(v).
   7
   8         38.    Defendants can remove the architectural barriers at their facility
   9   without much difficulty or expense. Defendants violated the ADA by failing to
  10
       remove the barriers because removal was readily achievable. For instance, there
  11
  12   are companies which can repaint parking areas for as little as $350. Defendants can
  13   afford such costs, which are a fraction of what Defendants receive in (rental or
  14
       business) profits in connection with such a large and expensive property.
  15
  16         39.    Alternatively, if it was not “readily achievable” for Defendants to
  17   remove barriers at their facilities, Defendants violated the ADA by failing to make
  18
       their services available through alternative methods which are readily achievable.
  19
  20         40.    On information and belief, Plaintiff alleges that the facility was altered
  21
       after January 26, 1992, mandating compliance with accessibility requirements
  22
       under the ADA.
  23
  24         41.    The ADA requires that facilities altered in a manner that affects or
  25
       could affect their usability must be made readily accessible to individuals with
  26
       disabilities to the maximum extent feasible. 42 U.S.C. § 12183(a)(2).
  27
  28
                                           25
                                        COMPLAINT
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   1         42.    Defendants altered the facilities at the Property in a manner that
   2
       violated the ADA, and/or failed to make the Property readily accessible to
   3
   4   physically disabled persons to the maximum extent feasible.

   5         43.    The ADA also requires reasonable modifications in policies, practices,
   6
       or procedures, when such modifications are necessary to afford goods, services,
   7
   8   facilities, privileges, advantages, or accommodations to individuals with
   9   disabilities, unless the entity can demonstrate that making such modifications
  10
       would fundamentally alter the nature of such goods, services, facilities, privileges,
  11
  12   advantages, or accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
  13         44.    Defendants violated the ADA by failing to make reasonable
  14
       modifications in policies, practices, or procedures at the Property when these
  15
  16   modifications were necessary to afford (and would not fundamentally alter the
  17   nature of) the goods, services, facilities, privileges, advantages, or accommodations.
  18
             45.    Plaintiff seeks a finding from this Court that Defendants violated the
  19
  20   ADA, so that she may pursue damages under California’s Unruh Civil Rights Act.
  21         46.    Here Defendants’ failure to make sure that accessible facilities were
  22
       available to, and ready to be used by, Plaintiff was/is a violation of law.
  23
  24         47.    Plaintiff would like to continue to frequent the Property, which is close
  25
       to her home. However, she is deterred from doing so because she has been
  26
       discriminated against and is aware of accessibility barriers at the Property.
  27
  28
                                           26
                                        COMPLAINT
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   1         48.    Among the remedies sought, Plaintiff seeks an injunction order
   2
       requiring compliance with federal and state disability access laws, and remediation
   3
   4   of the existing access violations (i.e., removal of the existing barriers) at the

   5   Property.
   6
                   V. SECOND CAUSE OF ACTION: VIOLATION OF THE
   7
   8                              UNRUH CIVIL RIGHTS ACT
   9                                 (Cal. Civ. Code §§ 51-53)
  10
                                      (Against All Defendants)
  11
  12         49.    Plaintiff repleads and incorporates by reference, as though fully set
  13   forth herein, the allegations contained in all prior paragraphs of this complaint.
  14
             50.    California Civil Code § 51 states, in part: “All persons within the
  15
  16   jurisdictions of this state are entitled to the full and equal accommodations,
  17   advantages, facilities, privileges, or services in all business establishments of every
  18
       kind whatsoever.”
  19
  20         51.    California Civil Code § 51 also states, in part: “No business
  21
       establishment of any kind whatsoever shall discriminate against any person in this
  22
       state because of the disability of the person.”
  23
  24         52.    California Civil Code § 51(f) specifically incorporates, by reference,
  25
       an individual’s rights under the ADA into the Unruh Civil Rights Act (UCRA).
  26
             53.    The UCRA also provides that a violation of the ADA, or California
  27
  28
                                            27
                                         COMPLAINT
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   1   state accessibility regulations, is a violation of the UCRA. Cal. Civ. Code § 51(f);
   2
       see Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433, 439 (N.D. Cal.
   3
   4   1994).

   5          54.    Defendants’ above-mentioned acts and omissions have violated the
   6
       UCRA by denying Plaintiff her rights to full and equal use of the accommodations,
   7
   8   advantages, facilities, privileges, and services they offer, on the basis of Plaintiff’s
   9   disability.
  10
              55.    Defendants’ above-mentioned acts and omissions have also violated
  11
  12   the UCRA by denying Plaintiff her rights to equal access pursuant to the ADA; and,
  13   thus, Defendants are liable for damages. See Cal. Civ. Code § 51(f), 52(a).
  14
              56.    Because Defendants’ violation of the UCRA resulted in difficulty,
  15
  16   discomfort, and/or embarrassment for Plaintiff, Defendants are each also
  17   responsible for statutory damages. See Cal. Civ. Code § 55.56(a), (c).
  18
       //
  19
  20   //
  21
       //
  22
       //
  23
  24   //
  25
       //
  26
       //
  27
  28
                                            28
                                         COMPLAINT
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   1         57.      Plaintiff was (actually) damaged by Defendants’ wrongful conduct.
   2
       She seeks actual damages, and statutory minimum damages of four thousand
   3
   4   dollars ($4,000) for each offense (i.e., for each occasion that Plaintiff was denied

   5   full and equal access).
   6
                                      PRAYER FOR RELIEF
   7
   8         WHEREFORE, Plaintiff prays for judgment against Defendants, as follows:
   9         1. For injunctive relief compelling Defendants to comply with the
  10
                   Americans with Disabilities Act and the Unruh Civil Rights Act. Note:
  11
  12               Plaintiff is not invoking section 55 of the California Civil Code and is not
  13               seeking injunctive relief under the Disabled Persons Act.
  14
             2. Damages under the Unruh Civil Rights Act, which provides for actual
  15
  16               damages and statutory minimum damages of $4,000 per each offense.
  17         3. Reasonable attorney fees, litigation expenses, and costs of suit, pursuant
  18
                   to 42 U.S.C. § 12205, and Cal. Civ. Code § 52.
  19
  20                                      JURY DEMAND
  21
             Plaintiff demands a trial by jury on all issues so triable.
  22
  23
       Dated: October 1, 2021             THE LAW OFFICE OF HAKIMI & SHAHRIARI
  24
                                          By:   /s/ Peter Shahriari
  25                                            PETER SHAHRIARI, ESQ.
  26                                            Attorney for Plaintiff Chantel Contreras

  27
  28
                                             29
                                          COMPLAINT
